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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

United States of America,

                      Plaintiff,                  Criminal No. 19-6 (MJD/TNL)

               v.

Alan Wilmer Alsleben,                             [PROPOSED] ORDER

                      Defendant.

      The parties jointly moved the Court for an order to reschedule the continued Change

of Plea hearing and to schedule this matter for sentencing to a date and time that is

convenient to the Court in early 2020.

      For good cause shown, Defendant’s Request is GRANTED.

      IT IS HEREBY ORDERED that:

      1.       The parties’ motion to reschedule the Change of Plea hearing and to set this

case for sentencing is GRANTED.

      2.       The Change of Plea and sentencing hearing is scheduled for __________.


Dated: December __, 2019
                                          MICHAEL J. DAVIS
                                          United States District Judge
